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 2
                                UNITED STATES DISTRICT COURT
 3
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 4

 5      UNITED STATES OF AMERICA,                          CASE NO. CR08-5125 BHS

 6                         Plaintiff-Respondent,           ORDER DENYING MOTION FOR
                                                           REDUCTION OF SENTENCE
 7               v.

 8      EPIFANIO BARRAGAN-ESTRADA,

 9                         Defendant-Movant.

10
            This matter comes before the Court on Defendant-Movant Epifanio Barragan-Estrada’s
11
     (“Barragan-Estrada”) Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(2). Dkt. 728.
12
     The Court has reviewed the motion and the Government’s response (Dkt. 733), and finds that
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     because the sentence that Barragan-Estrada is serving is the applicable mandatory minimum
14
     sentence required by 21 U.S.C. § 841(b)(1)(A), and because it is below the amended range,
15
     Barragan-Estrada is ineligible for a reduction in sentence under 18 U.S.C. § 3582(c)(2) and his
16
     motion should be denied. NOW, THEREFORE,
17
            IT IS HEREBY ORDERED that Barragan-Estrada’s Motion to Reduce Sentence
18
     Pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.
19
            Dated this 24th day of February, 2015.
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23
                                                   A
                                                   BENJAMIN H. SETTLE
                                                   United States District Judge
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     ORDER - 1
